     Case: 1:13-cv-07651 Document #: 23 Filed: 01/29/14 Page 1 of 1 PageID #:132

                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                                 Eastern Division

Taraneh Vessal
                                      Plaintiff,
v.                                                       Case No.: 1:13−cv−07651
                                                         Honorable Andrea R. Wood
Chase Bank USA, N.A., et al.
                                      Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, January 29, 2014:


        MINUTE entry before the Honorable Andrea R. Wood: The parties having filed a
stipulation of dismissal as to all defendants and all claims pursuant to FRCP
41(a)(1)(A)(ii), this case is dismissed with prejudice and without costs. Civil case
terminated. Mailed notice(ac, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
